                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                    NO. 5:20-CR-315-Dl



   UNITED STA TES OF AMERICA

       V.                                                      ORDER TO SEAL

   MALAIK SAIQUAN FLOURNOY




       On motion of the Defendant, Malaik Saiquan Flournoy, and for good cause shown, it is

hereby ORDERED that docket entry number DE 22 be sealed until further notice by this Court.

       IT IS SO ORDERED.

           21st
      This _ _ day of October, 2020.




                                                 Robert T. Numbers, II
                                                 United States Magistrate Judge




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